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 April 14, 2025

 Via ECF

 Clifton Cislak, Clerk of Court
 U.S. Court of Appeals for the D.C. Circuit
 E. Barrett Prettyman U.S. Courthouse
 333 Constitution Avenue NW
 Washington, D.C. 20001

       Re:    Associated Press v. Budowich, et al., No. 25-5109

 Dear Mr. Cislak:
       The Associated Press (“the AP”) respectfully submits this letter in
 opposition to the government’s “reiterated” request for an administrative stay of
 the District Court’s April 8, 2025 injunction, which requires the government to
 “immediately rescind” the denial of AP’s access to the Oval Office, Air Force
 One and other spaces open to the White House press pool, and to “immediately
 rescind [its] viewpoint-based denial of the AP’s access to events open to all
 credentialed White House journalists.” Prelim. Inj. Order at 41 (ECF 46). As
 the government acknowledges, the District Court’s order is now in effect.

        An administrative stay is still not warranted in this case. When
 considering an application for an administrative stay, courts determine which
 path would “minimize harm while the court deliberates” and “can [be]
 influence[d]” by “the Nken factors,” including the “underlying merits.” United
 States v. Texas, 144 S. Ct. 797, 798-99 (2024) (Barrett, J., concurring in the
 denial of applications for stay) (citing Nken v. Holder, 556 U.S. 418, 429 (2009)).
 Here, as the District Court found following its careful review of the evidence,
 the AP – not the government – is likely to succeed on the merits. Furthermore,
 permitting the government to continue discriminating and retaliating against the
 AP based on viewpoint, even temporarily, would increase the harms while the
 Court deliberates. Indeed, the government will suffer no harm from the
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 injunction remaining in effect, while the AP will suffer irreparable harm from a
 stay of the injunction safeguarding its First Amendment rights. See generally
 Apr. 11, 2025 Mem. Order (ECF 55) (denying stay). The public interest also
 opposes a stay. Id.

        Moreover, the government’s only rationale for “reiterating” its request for
 a stay is erroneous. The government claims that the President “is subject to an
 order imposing terms on which he must admit individuals to the Oval Office and
 other restricted spaces,” but as the District Court explained, it “simply [held] that
 under the First Amendment, if the Government opens its doors to some
 journalists—be it to the Oval Office, the East Room, or elsewhere—it cannot
 then shut those doors to other journalists because of their viewpoints.” Prelim.
 Inj. Order at 2 (emphasis added). Thus, the Preliminary Injunction Order “does
 not mandate that all eligible journalists, or indeed any journalists at all, be given
 access to the President or nonpublic government spaces.” Id. at 1 (emphasis in
 original).

      We ask that you circulate this letter to the panel assigned to hear the stay
 motion.

 Respectfully submitted,

 /s/ Charles D. Tobin
 Charles D. Tobin

 cc: All counsel
